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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NO. 2:02-00226-02

DANETTE NICOLE KIDD


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On March 21, 2012, the United States of America

appeared by R. Gregory McVey, Assistant United States Attorney,

and the defendant, Danette Nicole Kidd, appeared in person and

by her counsel, George H. Lancaster, Jr., Assistant Federal

Public Defender, for a hearing on the petition on supervised

release submitted by United States Probation Officer Troy A.

Lanham, the defendant having commenced a four-year term of

supervised release in this action on July 3, 2008, as more fully

set forth in the Judgment Including Sentence Under the

Sentencing Reform Act entered by the court on August 29, 2003.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant, on or about December 12, 2011, possessed marijuana in

violation of federal and state law inasmuch as she sold and

distributed approximately one pound of marijuana for $1,700 and

in the course of doing so associated with persons engaged in the

sale of marijuana as evidenced by her stipulation that the

government possesses evidence to prove the offense by a

preponderance of the evidence; (2) that the defendant used and

possessed marijuana as evidenced by a positive urine specimen

submitted by her on February 7, 2012, as admitted by her on the

record of the hearing; (3) that the defendant failed to notify

the probation officer within 72 hours that she was questioned by

law enforcement on or about December 12, 2011, in connection

with the sale of marijuana as set forth above, as admitted by

her on the record of the hearing; and (4) that the defendant

failed to appear for scheduled urinalysis as directed on

February 16 2012, as admitted by her on the record of the

hearing; all as set forth in the petition on supervised release.
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           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3553(a), that the defendant

is in need of correctional treatment which can most effectively

be provided if she is confined, it is accordingly ORDERED that

the defendant be, and she hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of TWELVE MONTHS AND ONE DAY, to be followed by a term of

four (4) years less one day of supervised release upon the

standard conditions of supervised release now in effect in this

district by order entered June 22, 2007, and the further

condition that the defendant not commit another federal, state
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or local crime and the special condition that she participate in

a drug abuse counseling and treatment program as directed by the

probation officer.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:      March 23, 2012


                                        John T. Copenhaver, Jr.
                                        United States District Judge
